         Case 5:16-cv-00274-DPM Document 118 Filed 07/20/18 Page 1 of 3




                       IN THE
                       IN THE UNITED
                              UNITED STATES
                                      STATES DISTRICT
                                             DISTRICT COURT
                                                      COURT
                           EASTERN DISTRICT
                          EASTERN  DISTRICT OF
                                            OF ARKANSAS
                                                ARKANSAS
                                PINE BLUFF
                                PINE BLUFF DIVISION
                                           DIVISION


WEST
WEST WIND
     WINDAIR LLC
             LLC d/b/a
                 d/b/a CHRISAIR
                       CHRISAIR                                                       PLAINTIFF
                                                                                      PLAINTIFF


        Vs.
        Vs.                       CASE NO.
                                  CASE NO. 5:16-cv-274-DFM
                                           5:16-cv-274-DPM

THRUSH AIRCRAFT,
THRUSH           INC.
       AIRCRAFT,INC.                                                      DEFENDANT/THIRD-
                                                                          DEFENDANT/TH IRD-
                                                                            PARTY PLAINTIFF
                                                                            PARTY PLAINTIFF

        Vs.
        Vs.


PRATT &
PRATT  & WHITNEY
         WHITNEY CANADA CORP.;
                 CANADA
PLANESMART AIRCRAFT
PLANESMART   AIRCRAFT SERVICES
                      SERVICES LLC;
                               LLC;
and ESTATE
and ESTATE OF
           OF DONALD
              DONALD SCOTT
                     SCOTT BROWN,
                           BROWN, Deceased
                                   Deceased                                      THIRD-PARTY
                                                                                 THIRD-PARTY
                                                                                  DEFENDANTS
                                                                                  DEFENDANTS



  STATEMENT OF
  STATEMENT    UNDISPUTED FACTS
            OFUNDISPUTED  FACTS IN
                                IN SUPPORT
                                   SUPPORT MOTION
                                           MOTION FOR
                                                  FOR SUMMARY
                                                      SUMMARY
      JUDGMENT
      nmnMFNT  OF the
               of THE estate
                      ESTATE of
                             OF DONALD
                                 DONALD SCOTT
                                        SCOTT BROWN.
                                              BROWN, DECEASED
                                                       DECEASED
              AND PLANESMART AIRCRAFT
              AND  PLANESMART   AIRCRAFT SERVICES.
                                         SERVICES, LLC
                                                   LLC



                                    UNDISPUTED FACTS
                                    UNDISPUTED FACTS

        1.
        1.     Planesmart
               Planesmart Aircraft
                          Aircraft Services,
                                   Services, LLC
                                             LLC("Planesmart")
                                                 ("Planesmart") and
                                                                and its
                                                                    its mechanics,
                                                                        mechanics, including
                                                                                   including

Donald Scott
Donald Scott Brown, did 100-hour
             Brown, did          inspections of
                        100-hour inspections of the
                                                the aircraft
                                                    aircraft involved
                                                             involved in
                                                                      in the
                                                                         the accident.
                                                                             accident.

        2.
        2.     Planesmart and
               Planesmart and itsits mechanics
                                     mechanics followed
                                               followed the
                                                        the inspection
                                                            inspection checklist
                                                                       checklist at
                                                                                 at Thrush
                                                                                    Thrush Aircraft,
                                                                                           Aircraft,

Inc. ("Thrush").
Inc.  ("Thrush").

       3.
       3.      Thrush's inspection
               Thrush's inspection checklist
                                   checklist did
                                             did not
                                                 not direct
                                                     direct inspection
                                                            inspection of the
                                                                          the beta
                                                                              beta valve.
                                                                                   valve.
       4.
       4.      The experts
                   experts for
                           for the
                               the plaintiff
                                   plaintiff and
                                             and Thrush
                                                 Thrush do
                                                        do not
                                                           not criticize
                                                               criticize the
                                                                         the inspections
                                                                             inspections by
                                                                                         by

Planesmart.
Planesmart


       5.
       5.      Planesmart performed
               Planesmart performed the
                                    the inspection
                                        inspection properly.
                                                   properly.

       6.
       6.      Planesmart
               Planesmart was not
                              not guilty
                                  guilty of
                                         of fault
                                            fault that
                                                  that contributed
                                                       contributed to
                                                                   to causing
                                                                      causing the
                                                                              the accident.
                                                                                  accident.
           Case 5:16-cv-00274-DPM Document 118 Filed 07/20/18 Page 2 of 3




                                             /s/ Patrick J. Goss
                                             Bar Number 73042
                                             Attorney for Planesmart Aircraft Services, LLC
                                             Rose Law Firm
                                             120 East Fourth Street
                                             Little Rock, AR 72201
                                             Telephone: (501) 375-9131
                                             E-mail: pgoss@roselawfinn.com




                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 20, 2018, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system, which shall send notification of such filing to the following
attorneys of record:

Robert G. Bridewell                                  Stephen Bingham
Robert G. Bridewell PLC                              Abtin Mehdizadegan
P. 0. Box 391                                        Cross Gunter Witherspoon & Galchus, P.C.
Lake Village, AR 71653-0391                          P. O. Box 3178
bridewellattorneys (,sbc global .net                 Little Rock, AR 72203-3178
                                                     sbingham@cgwg.com
James J. Thompson, Jr.                               abtin@cgwg.com
Attorney at Law
2025 Third Avenue North, Suite 216                   Baxter D. Drennon
Birmingham, AL 35203                                 Wright Lindsey & Jennings
ita,iimthompsonlaw.com                               200 W. Capitol Avenue, Suite 2300
                                                     Little Rock, AR 72201-3699
Nolan E. Awbrey                                      bdrennon@w1j.com
Awbrey Law Firm
2 North 20th St., Suite 950
Birmingham, AL 35203
nolan@awbreylaw.com

Fred C. Begy, III
Law Offices of Fred C. Begy III, P.C.
200 N. LaSalle Street, Suite 2810
Chicago, IL 60601
fbegy@fredbegylaw.com


                                                 2
723235-1
           Case 5:16-cv-00274-DPM Document 118 Filed 07/20/18 Page 3 of 3




                                       /s/ Patrick J. Goss
                                       Bar Number 73042
                                       Attorney for Planesmart Aircraft Services, LLC
                                       120 East Fourth Street
                                       Little. Rock, AR 72201
                                       Telephone: (501) 375-9131
                                       E-mail: pgoss@roselawfirm.com




                                          3
723235-1
